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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED MDL NO. 2047
DRYWALL PRODUCTS LIABILITY SECTION: L
LITIGATION JUDGE FALLON
MAG. JUDGE WILKINSON

THIS DOCUMENT RELATES TO:

Germano, et al. v. Taishan Gypsum Co.,
Ltd., f/k/a Shandong Taihe Dongxin Co.
Ltd., et al., Case No. 2:09-cv-6687 (E.D.La.)

PLAINTIFFS' MOTION FOR DEFAULT JUDGMENT
AGAINST TAISHAN GYPSUM CO., LTD

Plaintiffs, Michelle Germano, Dennis and Sharon Jackson, Jason and Lisa Dunaway, by
and through their counsel, respectfully move this Honorable Court for an Order, in the form
appended hereto, entering a default judgment against Taishan Gypsum Co., Ltd., f/k/a Shandong
Taihe Dongxin Co., Ltd. (“Taishan”). Pursuant to Fed.R.Civ. P. 55, the default judgement
should be entered against Taishan since it has not entered its appearance, answered Plaintiffs’
complaint, or otherwise offered any defense in this action, notwithstanding that service of the
complaint was perfected on Taishan on August 3, 2009.

For this reason, as well as those set forth in the memorandum of law submitted in
conjunction herewith, Plaintiffs respectfully request that the Court enter a default judgment

against Taishan.
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Respectfully submitted,

Dated: November 18, 2009 _/s/ Arnold Levin
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